Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 1 of 68

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

AMERICAN VENDING GROUP, INC.
Plaintiff

Vv. No. 8.07-cv-2277-AW

U.S. GOVERNMENT

Defendant

PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY
JUDGMENT

Plaintiff, American Vending Group, Inc. (“American”), moves this Court to deny
Detendant’s Motion for Summary Judgment on the basis that there is a material fact in
dispute. Plaintiff, American, concedes that it inadvertently did not file its 1998
Transmittal of Wages and Tax Statement, IRC Form W-3 and the two Wage and Tax
Statements, IRC Form W-2, with the Social Security Administration

Defendant, states that American acted with “intentional disregard” of the filing
requirements in failing to file its file its 1998 Transmittal of Wages and Tax Statement,
IRC Form W-3 and the two Wage and Tax Statements, IRC Form W-2, with the Social
Security Administration due to lack of knowledge of such regulations.

Therefore, there is a material fact in dispute which is whether Plaintiff in failing
to file its 1998 Transmittal of Wages and Tax Statement, IRC Form W-3 and the two
Wage and Tax Statements, IRC Form W-2, with the Social Security Administration acted

inadvertently or acted with intentional disregard of the filing requirements.

Page | of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 2 of 68

Memorandum of points and authority in support of this motion and a proposed

order are also submitted.

Date: May 19, 2008

Respectfully Submitted

/s/ Edward A. Blick

Edward A. Blick, #28459

Attorney for the Plaintiff

619 Blick Drive

Silver Spring, Maryland 20904
(301) 622-0745/Fax (301) 622-4448
blickeal @aol

Page 2 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 3 of 68

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

AMERICAN VENDING GROUP, INC.
Plaintiff

V. No. 8.07-cv-2277-AW

U. 8. GOVERNMENT

Defendant

MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION IN OPPOSITION
TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

STATEMENT OF FACTS

1. The business purpose of American is to provide and service vending machines
located in local office buildings. (Blick Afft. J 2.)

2. Mr. John S. Blick is the sole owner and general manager of American.

3, Prior to incorporation, the business was operated as a sole proprietorship.
(Blick Afft. ] 1.) There were no employees. Mr. Blick performed all the functions of
providing and servicing the vending machines. (Blick Afft. ] 5.) By 1998, the business
had expanded to the point that Mr. Blick could not service the vending machines by
himself.

4, In 1998, the business was incorporated in the State of Maryland as American
Vending Group, Inc. (“American”) and started operating as a corporation in 1998. (Blick

Afft. 1 6.)

Page 3 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 4 of 68

5. In mid 1998, American hired two employees to service approximately 65
vending machines that were located in Montgomery and Prince George’s Counties.
(Blick Afft. J 12.)

6. Mr. Blick had no experience in the accounting and Iocal, state, and federai
licensing, tax and other requirements of operating a business. (Blick Affi. 8.)

7. Therefore, for the purpose of performing the bookkeeping and employment tax
function of American, a part-time bookkeeper was hired. (Blick Afft. J 10.)

8. In early 1999, the bookkeeper prepared and forwarded to American its 1998
employment forms, the Wages and Tax Statements, IRS Forms W-2, for the two
employees and the Transmittal of Wages and Tax Statement, IRC Form W-3. (Blick
Afft. 711.)

9. Upon receipt of the forms from the bookkeeper, American gave its two
employees their 1998 Wages and Tax Statements, IRS Forms W-2. American stated
1998 was the first year it had employees. (Blick Afft. J 13.)

10. American stated it had no knowledge of its responsibility to file the
Transmittal of Wages and Tax Statement, IRC Form W-3 with the Social Security
Administration and it has no record that such a filing was made. (Blick Afft. J 15.)

11. American’s place of business was relocated five times since incorporated in
1998 and many records were either discarded or lost in the moves. (Blick Afft. ] 18 &
19.)

12, American is no longer in possession of copies of the W-2s and W-3 prepared

by the bookkeeper in 1998. (Blick Afft. J 20.)

Page 4 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 5 of 68

13. American was not contacted about this matter by either the IRS or the Social
Security Administration until December 3, 2001. (Blick Afft. 9 21.)

14. At that time, IRS sent American a Notice of Penalty Charge, assessing the
penalty for intentionally disregarding the W-2 filing requirements in the amount of
$3,114.53. (Ex. 201).

15. Subsequently, American received notices concerning this matter on July 26,
2002, December 27, 2002, July 27, 2005, December 26, 2005 and February 4, 2006." (Ex.
202-206.)

16. American responded to each notice requesting an explanation of the assessed
penalty. (Ex. 207-209). The IRS did not respond to American’s inquires. 7

In an effort to resolve this matter, American visited the IRS customer service
office in Baltimore, Maryland and spoke to customer service representative, “Michael”,
#52-06650 regarding IRS’s determination that American intentionally disregarded its
filing requirements.’. ( Ex. 210). Michael suggested American forwarded a letter to
Automatic Collection Service requesting how the IRS arrived at the amount of the
penalty.

17. On November 18, 2005, American forwarded a letter to Automatic Collection

Service as instructed by Michael. (Ex. 211). Automatic Collection Service did not

respond.

’ The notice of December 26, 2005 and February 4, 2006 were received during the Taxpayer Advocate
process and were not responded to but were discussed with the case advocate.

During this time, there was some confusion concerning American’s 1998 Corporation tax return and the
W-2 penalty. See Exhibit 2. IRS eventually accepted American’s 1998 Corporation tax return as filed and
applied the overpayment to the assessed 1998 W-2 penalty. See Exhibit 3.

* See exhibit 7 for the IRS service representative name.

Page 5 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 6 of 68

18. Due to the lack of responsiveness and cooperation on the part of IRS, ina
further effort to resolve this matter, on February 9, 2006, American contacted the
Taxpayer Advocate Service. (Ex. 212.) American requested the Taxpayers Advocate
Service to provide: 1-Copies of the transcripts of American’s penalty account; 2-A
calculation of the penalty; 3-The basis for the determination that American had
“intentionally disregarded” the filing requirements. (Ex. 213).. The Taxpayer Advocate
Service was unwilling or unable to respond to American’s inquiry of what facts and
circumstances of American were considered by the IRS to determine that American had
“intentionally disregarded” the filing requirements. In September 2006, in a telephone
conversation with the case advocate, American was told to go to court in order to obtain a
resolution of this matter. (Ex. 214-215.)

19. In September 2006, without notice, IRS’ collection division satisfied the
penalty by seizing funds from American’s bank account.

20. On October 3, 2006, American filed a claim for refund of the amount seized
by the IRS. (Ex. 216). IRS did not act on the claim within six months of the date of filing
the claim. 26 U.S.C. § 6532(a)(1) provides that a claim is considered denied if IRS failed
to act on the claim for a refund within six months of the date of filing.

21. In August 2007, American filed a complaint in the U.S. District Court of
Maryland seeking a refund of the funds seized as provided by 28 U.C.S. § 1346(a)(1) that
provides that the District Court have jurisdiction in a civil action against United States to
recover any penalty alleged to have been excessive.

Discovery will close on May 19, 2008. American has fully responded or objected

to all discovery requests.

Page 6 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 7 of 68

ARGUMENTS

. Summary Judgment Is Not Appropriate

The standard to be applied in deciding a motion of summary judgment is set forth
in Rule 56 of the Federal Rule of Civil Procedure, which provides in pertinent part as
follows that summary judgment is appropriate only “if the pleadings, depositions,
answers to interrogatories, and admissions of file, together with the affidavits, if any,
show that there is no genuine issue as to any material fact and that the moving party is

entitled to judgment as to a matter of law”. Fed R. Civ. P. 56 (c ); Cetotex Corp, v.

Catrett, 477 U.S. 317 at 322 (1986). Summary Judgment is proper if, under

governing laws, there is only one reasonable conclusion as to the verdict; if
reasonable finder of facts could resolve a factual issue in favor of either party,

summary judgment should not be grants. Anderson v. Liberty Lobby, Inc., 477 U.S.

242 at 249 (1986).

The movant on a summary judgment bears the initial burden of providing the
court with a legal basis for its motion and identifying those portion of the record
which is alleges demonstrate the absence of a genuine issue of material fact. Celotex,
477 U.S. at 323. The burden then shifts to the party opposing the motion to present
affirmative evidence in order to defeat a properly supported motion for summary
judgment. Anderson, 477 U.S. at 257. All evidence and inferences drawn from the
evidence must be viewed in the light favorable to the party resisting the motion for

summary judgment. Hibernia Nat’] Bank v. Carnet, 997 F.2d 94 at 97 (5™ Cir. 1993).

When defendant moves for summary judgment, it must affirmatively demonstrate

that there is no genuine issue of material fact as to each element of the cause of

Page 7 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 8 of 68

action. If plaintiff, as the non-movant, cannot prove some evidence to show a

genuine issue of fact, summary judgment is appropriate. Stahl v. Novartis

Pharmaceuticals Corp., 283 F.3d 254 at 263 (5 Cir), cert denied 536 U.S. 84.

Summary judgment may not be granted unless the court determines that there are no
genuine issues of material facts in dispute and that the moving party is entitled to

judgment as a matter of law. See Fed. R. Civ. P. 56(c); Anderson, 477 U.S. at 247-

248 (1986); Matsusjita Electric Industrial Co, v. Zenith Radio Corp., 475 U.S. 574 at

586 (1986).

In the instant case, the material fact in dispute is whether American acted with
intentional disregard of its information return filing requirements, as Defendant
argues or whether American acted inadvertently in failure to file its information
return, as Plaintiff argues. Defendant argues that American intentionally disregarded
the information filing requirements by not filing its 1998 Transmittal Wages and Tax
Statements, IRC Form W-3 and two Wage and Tax Statements with the Social
Security Administration. American argues that they prepared and provided to its
employees the Wage and Tax Statements but mistakenly did not file its 1998
Transmittal Wages and Tax Statements, IRC Form W-3 and two Wage and Tax
Statements with the Social Security Administration due to lack of knowledge of such
requirements.

2. Relevant Statute

26 U.S.C. § 6721(a}(1) provides,
(a) Imposition of penalty (1) In general In the case of a failure described in

paragraph (2) by any person with respect to an information return, such person shall

Page 8 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 9 of 68

pay a penalty of $50 for each return with respect to which such a failure occurs, but
the total amount imposed on such person for all such failures during any calendar
year shall not exceed $250,000. (2) Failures subject to penalty For purposes of
paragraph (1), the failures described in this paragraph are - (A) any failure to file an
information return with the Secretary on or before the required filing date, a party
that fails to file an information return shall pay a penalty of $50 for each return with
respect to which such failure occurred. In the present case, the penalty for tax year
1998 under 26 U.S.C. § 6721(a)(1) would be $100.00.

26 U.S.C. § 6721(e) provides

(e) Penalty in case of intentional disregard If 1 or more failures described in
subsection (a)(2) are due to intentional disregard of the filing requirement (or the
correct information reporting requirement), then, with respect to each such failure -
(1) subsections (b), (c), and (d) shall not apply, (2) the penalty imposed under
subsection (a) shall be $100, or, if greater - (A) in the case of a return other than a
return required under section 6045(a), 6041 A(b), 6050H, 60501, 6050J, 6050K, or
6050L, 10 percent of the aggregate amount of the items required to be reported
correctly, (B) in the case of a return required to be filed by section 6045(a), 6050K, or
6050L, 5 percent of the aggregate amount of the items required to be reported
correctly, or (C) in the case of a return required to be filed under section 6050] that if
a party’s failure to file an information return is due to intentional disregard of the
filing requirements, then the penalty is enhanced from $50.00 for each return with
respect to which such failure occurred to 10% of the total wagers reported for the tax

year. In the present case, the penalty would be $3,114.55.

Page 9 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 10 of 68

3. Defendant is not Entitled to Judgment as a Matter of Law

Defendant assessed Plaintiff a penalty in the amount of $3,114.55 plus interest
alleging that Plaintiff's failure to file its 1998 Transmittal Wages and Tax
Statements, IRC Form W-3 and two Wage and Tax Statements with the Social
Security Administration was due to intentional disregard of the filing requirements.
(Ex. 217.)

Plaintiff challenges that penalty, asserting that failure was done inadvertently,
rather then purposefully. To support its position, Plaintiff relies on cases where the
courts considering this civil penalty provision in the 26 U.S.C. § 6721(e) in the tax
code that requires a showing of willfulness. The courts defined willfulness in terms
of “voluntary, conscious, and intentional’ conduct.

An IRS’ assessment is presumed correct so long as it is not arbitrary.

Dellacrose v. Commissioner, 83 T.C. 269 (1984). The burden of proof is solely on

a taxpayer who challenges a penalty assessment under 26 U.S.C. § 6721(e)(2)(c ).
Marcello v. Commissioner, 380 F.2d 499 at 506 6" Cir. 1967); DeGuerin v.
United States, 214 F. Supp. 2d 726 at 733-34 (S.D. Tex. 2002). Therefore, the
burden is on Plaintiff to show lack of intentional disregard.

Defendant determined that Plaintiff intentionally disregarded its information
returms filing requirement, therefore triggering the penalty for willful
noncompliance. 26 U.S.C. § 6721(e)(2)(c ) does not define “intentional disregard”
however the regulations promulgated thereunder state that “[a| failure is due to
intentional disregard if it is knowing and willful---(i)[f]ailure to file timely, or

(ii)[fJailure to include correct information.” 26 C.F.R. § 301.6721-1(f)(2).. Whether

Page 10 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 11 of 68

such a failure is knowingly and willful “is determined on the basis of all the facts
and circumstances in the particular case.” 26 C.F.R. § 301.6721-1(f)(2\(ii).. The
factors identified in the Treasury Regulations define “international disregard” as a
voluntary, rather than mistake in the failure to comply with the statutory filing
requirement. Deguerin 214 F. Supp. at 738-39. The Second Circuit, which is the
only federal appeals court to address the issue directly, agrees with the regulation
interpretation of the statute. Tysinger Moyor Co. v. United State, 428 F. Supp. 2d

480 at 484 (E.D.Va. 2006). In Gerald B. Lefcourt v. United States 125 F.3d 79 (2d

Cir 1997) the Court stated:

“[S]ection 6721 does not use the term “willful; it uses the term “intentional
disregard”. But 26 C-F.R. § 301.6721-1(f)(2)(ii) defines “intentional disregard” as
synonymous with “willfulness”. Thus in our view, the “intentional disregard” set
forth in §6721’s penalty provisions means conduct that is willful, a term which in
the context requires only that a party act voluntarily in withholding requested
information, rather than accidentally or unconsciously.”

Applying the regulatory and case law definitions set forth above, the
Plaintiff has carried its burden of proving that it did not intentionally disregard its
obligation to file its 1998 Transmittal Wages and Tax Statements, IRC Form W-3
and two Wage and Tax Statements with the Social Security Administration. In
the five years Plaintiff has attempted to resolve this matter, neither the IRS
Service Center, who assessed the penalty, nor the IRS Automatic Collection
Center, nor the IRS local Service Center nor the Taxpayer Advocate Service

offered any proof that Plaintiff made a conscious decision or acted willfully and

Page 11 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 12 of 68

voluntary in failing filing 1998 Transmittal Wages and Tax Statements, IRC Form
W-3 and two Wage and Tax Statements with the Social Security Administration.
Plaintiff had nothing to gain in not timely filing the 1998 Transmittal Wages and
Tax Statements, IRC Form W-3 and two Wage and Tax Statements with the
Social Security Administration. All the employment tax had been paid. The IRS
had the money.(Ex. 218.).

Plaintiff desire to comply with the law is demonstrated by is efforts to
timely file ali employment tax returns and timely pay the tax for all the
subsequent quarters and years, for ten years, the entire time Plaintiff was in the
vending machine business. Plaintiff's failure to file its 1998 Transmittal Wages
and Tax Statements, IRC Form W-3 and two Wage and Tax Statements with the
Social Security Administration was an isolated incident, the action of an
uninformed and first time filer.

The IRS, when requested, failed to produce any evidence from which this
Court could infer any type of pattern of conduct that would indicate that Plaintiff
intentionally disregarded its obligation or had any prior instance of
noncompliance in filing information returns. In recommending the maximum fine
in is case, defendant considers any failure to file automatically willful. Such
approach should be impermissible since it changes an intent based statute to one
of strict liability. Because this is contrary to the plain language of the statute,

Defendants reasoning is flawed.

Page 12 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 13 of 68

CONCLUSION

Plaintiff has earned its day in court. Witness testimony, documentary evidence
and legal basis strongly support its claim that its failure was not due to
international disregard of the statute to timely file correct information returns but
due to the inexperience and lack of knowledge of an unsophisticated business
person. Based on the authorities discussed above the Government’s motion for
summary judgment should be denied.

Respectfully Submitted

/s/ Edward A. Blick

Edward A. Blick, #28459

Attorney for the Plaintiff

619 Blick Drive

Silver Spring, Maryland 20904

(301) 622-0745/Fax (301) 622-4448
blickeal @aol

Page 13 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 14 of 68

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

AMERICAN VENDING GROUP, INC.
Plaintiff

V. No. 8.07-cv-2277-AW

U.S. GOVERNMENT

Defendant

ORDER

Upon consideration of the motions, arguments, briefs, and applicable law, it is
hereby:

ORDERED that the United States’ motion for summary judgment is DENIED.

UNITED STATES DISTRICT COURT JUDGE

Page 14 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 15 of 68

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

AMERICAN VENDING GROUP, INC.
Plaintiff

Vv. No. 8.07-cv-2277-AW

U. 8. GOVERNMENT

Defendant

DECLARATION OF EDWARD A. BLICK

I, Edward a, Blick, states as follows:
1. Iam the attorney for Plaintiff, the American Vending Group, Inc.

2. As the attorney for Plaintiff, I have the Plaintiff’s legal file and all discovery
material generated in this case.

3. This legal file contains defendant’s response to Plaintiff’s requests for documents,
admissions and interrogatories. A true and correct copy of these responses is
attached as Exhibit 219.

I declare under the penalty of perjury that the foregoing is true and correct.
Date: May 19, 2008
Respectfully Submitted

/s/ Edward A. Blick

Edward A. Blick, #28459

Attorney for the Plaintiff

619 Blick Drive

Silver Spring, Maryland 20904
(301) 622-0745/Fax (301) 622-4448
blickeal @aol

Page 15 of 16
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 16 of 68

CIVIL ACTION NO. 8:07-cev-2277-AW

CERTIFICATE OF SERVICE

By U.S. Mail (Postage Paid) and electronically

Docket Clerk

United States District Court
For the District of Maryland
Greenbelt Division

6500 Cherrywood Lane
Greenbelt, Maryland 20770

Ari D. Kunofsky

U.S. Department of Justice
Post Office Box 227

Ben Franklin Station
Washington, D. C. 20044

I hereby certify that on May 19, 2008

these documents were caused to be served on
the above-named parties at the address

listed and by the means stated.

fs/ Edward A. Blick
Edward A. Blick, Esq.

Page 16 of 16
Case 2:07-cv-02277-Whec Document 24 Filed 05/19/08 Page 17 of 68

§22091304 YL 13 199812 676 5201 TR 26354-717-52243~-1 30519 213
200147 R26066 $B
Ceparment of the Treasury Date of thie pec. 3. zon
! 5 aT nolige: . ‘
intomal Revanue Service Taxpayer Ingeniiying Number "52 -2091304
PHILADELPHIA PA 19255 Form: CVE P TaxPoriod. DEC. 31, 1998

Fur assistance you may
call us at:

1-800-829-1040
VeARDDsooBEED sESEE AM sdedosn ale ETabadvfosd dianlefl sack!

AMERICAN VENDING GROUP INC
6701 DEMOCRACY BLYD 555
BETHESDA MO 8 20617-7519507

o_o
aT
————

NOTICE OF PENALTY CHARGE 649
pee eve i oS EER A FENALTY UNDER SECTION 6721 OF THE INTERNAL REVENUE CODE —
FALLURE TO FILE FORMS W-2.
TAX STATEMENT
PRIOR FELAce #.09
FE

2 ra

WALT. AY SESSMENT 3,114.55
INTERES CHARGEN on
OTHER CHARGES »@0
BALANCE DUE 43,234.55

; PENALTY HAS #EEN CHARdED FOR EACH FORM We2 THAT WAS ACT FILED AS REGUEWED

Y SECTION 6051 OF THE INTERNAL REVENUE CODE. OUR RECORDS INDICATE THAT
soTk THE SOCTAL SECURITY ADMINISTRATION AND THE INTERNAL REVENUE SERVICE
HAVE BEEN IN GONTACT WITH YOU TO ATTEMPT TO SECURE THESE FORMS W-2.

THE peuALTY FOR INTENTIONAL DISREGARD OF THE FILING REQUIREMENTS I5 THE GREATER
OF ¢104 PER REQUIRED RETURN OR 10 PERCENT GF THE AGGREGATE AMOUNT OF ITEMS
RE URED rap €E REPOR yep. IF YOU HAVE NOT FILED FORMS W-2 FOR THE FERTOD
REQUEST EASE SUBMIT THEM TO IRS (NOY THE SOCIAL SECURITY ADMINISTRATION)
AT TH ADORESE SHOWN AROVE WITHIN 10 DAYS OF THE BATE OF THIS NOTI THE
APPLI are PORTION OF THE PENALTY WELL BE ABATED FOR FORMS W-2 eHAT Eau SUBMIT.

iF YOu BE nEVE YOU HAVE REASONABLE CAUSE WHY WE SHOULDN'T CHARGE THESE PENALTIES,
VOU MAY ID US AN EXPLANATION AND ASK US Ta REMOVE GR REDUCE ANY OF THE
CENALTIES te HAVE CHARGED, SEND US A SPECIFIC EXPLANATION FOR EACH PENALTY

YOU WISH US TO REMOVE OR REDUCE ay DEC 24, 2001. PLEASE INCLUDE ANY DOCUMENTS
THAT WILL SUPPORT YOUR POSiTICH. U-AGREE WITH THE PEWALTY, PLEASE SEND THE
AMOUNT DUE NOW. WE HAVE ENCLOSED AN ENVEL OP FOR Your” CONVENIENCE.

YOUR TELEPHONE NUMBER BEST TIME TO CALL
AMOUNT YOU OWE... ee 93,114.53
549
DeMPE HL cDQUE sEUEDsDSesTrbcnauls [leds LiDaedQFasutadfacesthedl
200147 26354-717~S5ee2435-1
215

INTERNAL REVENUE SERVICE
PHILADELPHIA FA 192

522091304 YL AMER 43 2 L39812 &70 00000311453

me mam me An Faroaetit (AR 1ues
racramant of the BARAT cv.02277-WGC Document 24 Filed 05/19/08 Page 18 of 68

Imernal Revenu

PHILADELPHIA, PA

19255

AMERICAN VENDING GROUP INC
% EDWARD A BLICK
619 BLICK DR

SILVERSPRING MD 20904

Taxpayer Identification Mumber;:
Tax Periad:
Form:

Dear Taxpayer:

In reply refer to; 0565301666

July 26, 2002 LTR 282C
XX-XXXXXXX 199812 02 oo0 l
00170
52-20913046
Dec. 31, 1998
1120

We made a thorough search but are unable to locate the tax return,

Form 1120,

you filed for tax period Dec.

31, 1998.

Please file another return(s) and attach copies of your Form(s) W-2
(Wage and Tax Statement) and any other schedules or documents included

With vour original return(s).

Sign and date the return(s).
are filing jointly with your spouse, he or she must also sign.
Paid tax with the original return(s) you filed,
of both sides of your canceled check(s).

If you

If you
Please include copies
If you didn't pay tax at

that time and tax is still due, Please include your payment.

You have credits totaling $4,500.00 on this account.

If you have any questions, Please call R. Radzikowski at
215-516-2005 between the hours of 8:00 AM and

2:30 PM.

If the number is outside your local Calling area,

there will be a long-distance charge to you.

If you prefer,
of the first page of this letter.

you may write to us at the address shown at the top

Whenever you write, please include this letter and, in the spaces

below, give us your telephone number with the hours we can reach you.
Keep a copy of this letter for your records,

Telephone Number ( 7

Hours

ere ee eet ¢
. A
Case 8:07-Cv-02277-WGC Document 24 Filed 05/19/08 Page 19 of 68

SBu
Dapectnent of he Treasury Haase
wiceral Revenue Benvice DEC, ZT, 2962
F.C. SOX 5?
ves bes Number:
SEZNGALEM, PA. 18020 Teeter toe bers

Teter 1: 278004

% ats Numer:
Soper rh -a00- 829-3905
BEST TIME TD CALL!
a;08 AM TG 4:50 PH
_ MONDAY THRU FRIDAY

AMERICAN VENDING GROUP INC
6701 DEMOCRACY BLVD Sic
AUTSEEDA MD 20017-75129507

sarigeed to th office for eafeecentent notion, waich cold factnde seizing yOu wages or property, It's
imsportarst that we hear frou you within 10 days trom the date of this Letter.

IF YOU AREN'T ABLE TO PAY YOUR OVERDUB AMOUNT IN FULL pleats oA oe help yon
sonibet listed above. Be ready to tell ws what your monthly isoome and expenses Are 40 We cat you

errange & payment pian.

IF YOU CAN FILE YOUR RETURN WITH FULL PAYMENT, stall #t to reach ws within 10 days
from the date of this Letter. IF YOUCANT FILE YOUR RETURN WITHIN 10 DAYS, please cali cas
of the telephone numbers listed above. To belp wa determine {f you need to file, be ready to provide as
with your filing information. For ap individual return, this should inciuds your inoonte, filing status, and
total federal taxes withheld. Por 0 business return, this should incinde wages paid, wember of employees,

sed FTDs meade for payzoll.
IF YOU WOULD LIKE SOMBONS BLSB to call ts for you, we mast bave a signed staternsnt trom
you aHiowing ws to disclose your tax informestion to thw . You should makes your statement on Form

248, Power of Attormey and Declaration of Representative, which you can got from any IRS office. You
meet seed ts 4 copy of the completed form before your represenrintive calle. .

x. i " Devil.
Operesicas Much ger Aeborsted Collection System
Enclosures:
Copy of this letter
Bavelope

©$33091904223°

Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 20 of 68
st

Date:
FEB, 04; 2006:

Taxpayer iteritRicntion thareber: “
$2-2091304 « @:08": |
credier s-- ‘950887. -:

7106 87% 9320 3338 298
Comat Telephone Aunts

ToLi FREE: Toda zee A903 :

BEST TIME TO CALL:

BOK = FRY” BrDOANETO"8 200 PH
AS TFTENCEA EN ESPANOL 1-800-829-3905 -
aRER IDA VENDING GROUF ING
" USERS: CONCORD ‘ST STE 460
KENSINGTON: MD: -26098-2802181

CALL IMMEDIATELY TO PREVENT PROPERTY L LOSS

FRIAS. HOTICE: oF INTENT TO LEVY ANG NOVICE OF YOUR RIGHT TOAHEARING: 0”

vse nts yuor sig ou'e to contact us'abo ut your overdue tures, “You havent responded orpaidthe |
to call us-in ai the tel numter listed above to discuss your:

: seer mol proeny. "we cah resolve this matter without taxing and selling your.

Wernre auihittred te dolor overlie taxes | taking: which le calied levying, property or serena 7
gating thee if riueenty . FrOpeaty ra bane acpeu venapan:, com rarnte: comeniasions, neue, care
: and Ser come and sot

2 meee na ey en nations 6890 and G31, tel re ae ea.
2 yeue: ‘or. ye ‘a you-take one 6
cee pay te bil dmouat you owe. ‘ahown ort the back of this totiet. ‘When deing.20,:
Luks Piease make yeur check or: money order paysble to the: Unked States Treapury:
crieteymet on suger eae A —_ number and the tax. poriod .

fo pay off your dbs ever time.

WHAT 70 cow YOUDMAQREE:

He tea emerson ceo jeri ys te nd np erm

Sermratnes eeetatae coms
_.. Welve enclosed tre publications that tO Canad
- to paquest a Calisction Daw Process heating.

: _Weioek formant to! hearing frome you tmenediataly, and pe ee youn aig your rmponsbay.

sical ae ae oncioued 8 irighks, a6

| Eneioaures: Copy'ot fetter, Fern 12189, Publication 504, Publication 1680, Envelope

ee
eee Letter 1086 (Rev. 05-2002HLT-14)

ci? afin fWeanliz® an-2-4e4 OL bOv }GOPe { dngko e36289 Teey OTIUETIY ‘Ag ques
Case 8:07-Cv-02277-WGC Document 24 Filed 05/19/08 Page 21 of 68

00066) — “18a 78 eRe ee
onsen eo Nove Naming: OF S08
: vo @ 12726-2008
ce GONBin; XX-XXXXXXX.
Caller:

 PHILADELPHEA, a" PA TARDE AOR.

“ype a7%h TB2b 3343 4304

‘ -

ee ‘ .
a : fil ” AMERLGAH VENDING, GROUP INC.

pi’ | 40885 CONCORD: ST STE 440. ka i,
~ — MD gnges-250215) 3 ns2z41 38

“Urgent I!

* We intend to levy on certain.assets. Please respond NOW. .
“foe evold saditionel: pene and intereat, pay: ‘the amount you owe ‘within ten days from the date al this nats. “)

_ Our record indicate that you haven't paid the amount you owe. The law requires that you pay your tax at the
ape hey tum: This de your notice, ae mquired by Intertal Revenur Code Sedition 434104: a
“stent to levy “{ake) an y state tax refunds that you way be entitled to if we don't receive yout payimel

full. In addition, we will begin to search for other asseta we may k ion, plea can also file » Notice of Federal
Tax Lien, if we haven't already doue so. To prevent collecilon | lon, plea ee pay the. current:
pew, ‘If you've.already paid, can't pay, or have arcanged for an. ingtalinient sgreemant, it is ‘important that you oe
oat as. pinmeclately « ot the tnlephons muanber shown below. Cterrent balance may include Greil ir if. ee

: __gaeaned-
. “Avoount Suminary reese
[Fo ore: Civeen | [ax Penod: 12-31-1598 | Fea -
. Current Ralance: - #3618. 98 4 your penaity & interest fy
“Inches: [ssi Pappaze a you. may :
 - Penalty: 90.6% een fot |
~ Jnterest: . ores 2ht
Lest Payment. OT i oe
- Gee tha eneioned Pubtaat 594, The (RS Cottecton Process, and Noten. oe
Questions? Cal ue at 1-000.089-91 48 _seamanacn tant i, Corr era ne
SUnked Wotlce bkimoef Lr b04-

™. PagageAIEWO pe

| Mates D8, 12 kh 2005 os

tile oh Ot SN pe — a ' Amount Due. .

Were 12-31-2998 152-2091 304 - | Lanes 2 |
Pind iy 9: ‘paying taxes at: www.irs.gov
Enter Keywats: gine eh pasng labo :

_Intamal Revenue Service oo AMERICAN VENDING eADUF. dnc.

PHILADELPHIA, PAL 19255- “9036 , 10605 CONCORD ST STE. 468
oo! KENSINGTON nD 20a% 2451.
“Allied . a oe pee 7 on

~ sazomaoy ¥ vL AMER 13. 2 ansene B70 ‘ooponanis3s

me eB " fea ae Ae . (ariapiene? i drape #16183 ggg

Case 8: Or- -CV- 0227 7- WGC

Document 24 Filed 05/19/08 Page 22 of 68

a

«SO Mt wo ‘199812 - . a IRS Usk ONLY 2S 4 719 A384 oR an.
Drpatneetuf he Tamuy For Husiaiance, call: SE *
7 erie Reveune Serving | V-RNO825-3503 we
"STOP #12 oe
. COVINGTON, KY er018.0001 Nesttoe N weher: coin

029003 .8seub GOSS. O02 2 AT 0.202 @62

~Iehlsalat init aa

a pages
a SRICA
| ROCORLLE:

rape eroup Tle

~ 20650, rrahhZo4s. oo

. Date: dane eT, TONS :

t axpayer Lénditatn Nem:
S2-2U9 1504
Tax Form: CVLPEN’

‘Tex ¥enod:. Does 18

basoos a
“Past Due. Tax Statement - t
8 on ssi .
Pay by: “ly 7, 2008

oS tated Uepridiatance | sPenatnes | eteteret vnc FOE
SVL PEN 1231/99 i Eat 8.5 | $:590.26 _S3suke4
-| “ee Ta Las, Poeklin aad ipiorenl | 33,002.08
” Fa Wilke a payment: ,

2, Complete and detach the Payment stub at the on: o*

o fyae- Sant pay the Eat aszoust uveed:

"OB _ Pay an much ay you can usw.

oo Review the Payme:
3. Catt Wis at 1680°.97 BeREO3

te omeutie pelt fit

"WIES'B = S0-Z-AON

E/; e6ey

_  Ramindert iyan don't pay the aeount awed by ly 7, 2005,

L Mole your check or money onder paysble to the United States Treasury (ts sive bo waite yout TEN oa your check).

thie obva.

3. Sond ihe stub end your payment ia the enclosed onvelope.

tt Options listed on the back of this page.
ifvou taut te ducuss pey nit options dor the wmnunt 201 paid,

we will continue ta add seraltien anit 3 it ferent tnt she

Od cOP Lg0Pe * (NAHM @leten tRau Avie ile see
£68
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 23 0

August 18, 2002

Ms. Patricia Slaymaker Reply Reference: 0565301666
Department Manager 1, Collection

Internal Revenue Service Center

Philadelphia, PA 19255-0038

Dear Ms, Slaymaker

Re: Atlantic Vending Group, Inc. TIN XX-XXXXXXX

Subjeci: U.S. Corporation Tax Return for Tax Year 1998

We wish to acknowledge receipt of your letter of July 26, 2002, received by this
office August 1C, 2002.

W's have received three requests for the 1998 U.S. Corporation Tax Return for
Atlantic Vending Group, Inc. In each cass, we have timely responded and
forwarded the return filed October 10, 1999 Showing a refund of $3 93.00. Also
enclosed was my Power of Attorney, Form 2848. See enclosure,

Aguin, we are caclosing the U.S. Corporation tax return filed by Atlantic Vending
Group, Inc. for tax year 1998 swith supporting schedules. Please forward the refund
check to John S. Blick, President, Atlantic Vending Group, Inc., 4 Nocturne Court,
Rockville, Maryland 20854,

Ifyou have any questions concerning this matter, please do not hesitate to contact
me at (202) 442-6509 or (301) 622-0745,

Very truly you's,
Edward A. Blick
Enclosures

ce: Atlantic Vending Group
4 Nocturne Court
Rockville, Maryland 20805

Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 24 of 68

January 15, 2003
Ms. L. G. Dowd
Operation Manager, Automated Collection System

P.O. Box 57
Bensalem. PA 19020

Dear Ms. Dowd:
Re: American Vending Group, Inc. TIN XX-XXXXXXX

Sutject: U. 8. Corporation Tax Return for Tax Year 1998
We wish to acknowledge receipt of your letter of December 27, 2002

Enclosed is our last communication with the Internal Revenue Service concerning
this matter, dated August 18, 2002. See attached letter that speaks for itself.

We have no record of civil penalties assessed American Vending Group for tax
year 1998. Please forward to us the transcript for American Vending Group for tax
year 1998,

If you have any questions concerning this matter, please do not hesitate to contact
me at (202) 442-6509.

Very truly yours,

Edward A. Blick

Enclosures

p
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 25 of 68

22 September 2005

Internal Revenue Service

P.O. Box 267

STOP 812

Covirgtor, Kentucky 41019-0001

rn Cla,
RIGOL XA.
Re American Vending Group, Inc. TIN $2-2091 304

rporate Tax Return for Tax Year 1998

We wish to acknowledge your ietter of June 27, 2005 that we have eiiclosed for your
Vereen.

re re a

Enclosed are copies of vur three letiers, dated May 2, 2002, Augusi 18, 2002 and January
($, 2003 conserning iis miatter. The ictters speak for themselves. Also enclosed is a

late ter from the Philadelnhia luternal Revenue Service Center, dated April 22, 2002,
achoow! reine receipt of our payment of $4,500 fer tex. vear 1998, We have also enclosed
vur 1998 (5. Corporation tax return with attach:nents and my power of attorney.

Please forward the refund Check of $393. plus interest to John 8. Blick, President Atiantic
Vending Group, Inc., 4 Nos:turne Court, Rockville, 20050.

If you have any question concerning this matic’, please do not hesitate te contact me at

ADNAN AAS aroma
(202) 442-6509 or my mobile (201) 919-4547,

Sincerely yours,

Cdward A. Blick

od
wn
Zz.

otice No CP-081 Dated 04/22/2002

Response letters dated 05/02/2002, 08/18/2002 and 01/15/2002
IRS Notice No CP171 Dated 06/27/2005

American Vending Group, Inc IRS Form 1120 for Tax Year 1998
Power of Attorney

Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 - Page 26 of 68

COMBINED ANNUAL WAGE REPORTING (CAWR) UNIT

INTERNAL REVENUE SERVICE
CAWR UNIT

11601 Roosevelt Blvd.
Philadelphia, PA 19154

RE; PENALTY CODE #549
nn name 1

SEND A PENALTY ABATEMENT REQUEST LETTER
ALONG WITH A COMPLETE SET OF FORMS W-2, W-3 &
941 FOR TAX YEAR 1998...

[ 1 Jab) we KY wig

ema sat!

ts2-066S 0

Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 27 of 68

18 November 2005

Interval Revsaus Service
Automated Collection System
‘F.C. Box 57

Bensalem, PA19020

Dear Sir:
Re: American Vending Group, Inc. TIN XX-XXXXXXX
Subject: Tax Due Statement Dated June 27, 2005

We have been instructed by your Automated Collection System to request an explanation
of ine enclosed Tax Due Statement.

The issue is a miscellaneous penaity IRC 6721(c) for failure to file W-2 Forms for tax year
1998 which was assessed on December 03, 2001 against American Vending Group. We
have no record of any communication with IRS prior to that date concerning this matter.

Enclosed are copies cf our four letters, dated May 2, 2002, August 18, 2002, January 15,
2003 and September 22, 2005 sent to various IRS offices concerning this matter. We
never received a response to any of these letters and your ACS operator informed us shat
none of these letters are recorded on the tranac:izts. Also enclosed is the IRS Past due
statement dated June 27, 2005 and my power of attorney.

Besides the letters, we visited two IRS offices, Baltimore, MD Novernber 7, 2005 and

Washington, D.C, November 16, 2005 in an effort to resoive this matter. We were referred
to Automated Collection System.

The purpose of this letter is twofold:

First, we would like to know how the service arrived at the amount of the penalty. In
1998, we had no payroll for the first two quarters and two employees in the third quarter
and one employee in the forth quarter.

Second, we would like copies of any correspondence you forward to us prior to December
3, 2001 concerning this matter including copies of certified mail receipts,

If you have any question concerning this matter, please do not hesitate to contact me at
(202) 442-6509 or my mobile (301) 919-4547. 7 f

N '

Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 28 of 68

Sincerely yours,

Edward A. Blick
Enclosures:

Response letters dated 05/02/2002, 08/18/2002, 01/15/2002 and 09/22/2005
IRS Notice No CP171 Dated 06/27/2005
Power of Attorney
[08 Page.29 of 68

AXP AY. ERcv-che Ortieg @ithe DxpayerAdvedatel dieratas indepetn. nite of any other IRS Office

DY c ATE and reports directly to Congress through the National Taxpayer Advocate.

Ba TSEAVICE

Date: March 26, 2005

Edward Blick

c/o American Vending Group Inc,
619 Blick Drive

Silver Spring, MD 20904

Taxpayer Identification Number: XX-XXXXXXX
Tax Form: Civil Penaity

Tax Period(s) Ending: 12/31/1998

Case Number: 3573210

Dear Mr. Blick:

| am working on your inquiry dated February 9, 2006, received in our office. On

March 11, 2006, | asked you for more information to heip me resolve your concern civil
penalty assessment. Unfortunately, | cannot assist you without copies of W2
statements,

Please send the information | requested by June 16, 2006, so i can make any
necessary changes or adjustments. {f ! do net hear from you by then, | will assume you
no longer need my assistance and will close your inquiry. Closing your inquiry without
the information | requested will result in no change to your clients’ account,

If you have ary questions, you cun reach me at the telephone numbers and hours of

Operation listed beluw. if you prefer, you can write to me at the address or faxes below.
Please provide a telephone number where you can be reached and the best time to call

! am sorry for the inconvenience this matter has caused you. | am happy to offer my
assistance and hope to hear fram you soon.

Sincerely,

C. Jones
Case Advocate

Taxpayer Advocate Service, 31 Hopkins Plaza, Room 1038, Baltimore, MD 21204
Contact: C. Jones — Employee Number §2-06838 Avallable Hours 7:30 am. — 4:00 p.m. (EST) M-F
Direct Extension 410-962-6995 Toll Free 800-865-6198 Fax 41 0-962-7259

Web Site Addrass www.irs.gov
TAS Letter 1671
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 30 of 68

June 15, 2006

Ms. C. Jones

Case Advocate

Taxpayer Advocate Service
31 Hopkins Plaza, Room 1038
Baltimore, Maryland 21201

Re: Request for Penalty Reconsideration
Dear Ms. Jones,
As per our telephone conversation of today I submit the following.

The taxpayer, American Vending Group, Inc. TIN XX-XXXXXXX was incorporated in Maryland in
mid 1998. For tax year 1998, there were two employces that were paid a total of $7,295.14 by
the taxpayer. See enclosed transcripts, The transcripts also show that a penalty was assessed for
$3,114.53 less the corporation income tax overpayment from tax year 1989 of $203.73 leaving a
balance due of $2,910.80.!

The notice requtrement for the penalty of IRC § 6722(a) and (c) is located at IRC §6303 which
requires notice of an assessment to each person liable for the tax within 60 days of the
assessment.

The first notice we received is dated December 3, 2001, aliaost three years after the W-2 were
due, January 31, 1999. A number of notices followed each of which was responded to. Al
notices and responses were provided with our request for Taxpayer Advocate consideration,

The penalty section is located at IRC § 6722 Failure to furnish correct payee statements,
Section (a) is the general rule provides a $50 penalty for each Statement not furnished.

Section (c) provides that in the case of intentional disregard, the penalty is 10% of the amount
required to be reported.

IRC Regs. §30] ‘6721-1(f(3) provides the definition of intentional disregard:

pattern of conduct by the person who filed the return of repeatedly failing to file timely or
repeatedly failing to include correct information:

Whether correction was promptly made upon discovery of the faiture;

Whether the filer corrects a failure to file or to a failure to include correct information within 30
days after the date of any written request from the IRS to file or correct; and

8
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 31 of 6

Whether the amount of the information-reporting penalty is less than the cost of complying with
the requirements to file timely or to include correct information on the information return.

Analysis:

At best the penalty should be $100 for the failure to file two information returns and at worst the
penaity should be $729.51 i¢ intentional disregard can be shown.

Conclusion:

In their determination in resolving this matter, we fee! the Service should allow some
consideration of the fact that the year in question was the first year that the taxpayer was in
business, the subsequent compliance history of the taxpayer and that the amount of the penalty
does not comply with the ianguage of the statute.

We would appreciate the following:
1. IDRS or AIM transcripts Showing the date the penalty was assessed and the date of the
notice that complied with the 60 day requirement of IRC § 6303, and
2. The calculation of the penalty as provided by IRC § 6772(a) and (¢), and
3. That the Service determines that the taxpayer's failure to file two information returns was
not “intentional disregard”,

If you have any further questions regarding this inatter, please do not hesitate io contact me, }
wish te take chis Oppe rtunity te thank you for your cooperation concerning this matter.

Very truly yours,

Edward A. Blick

Enclosure
8
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 32 of 6

4 September 2006

Ms. Pan Votta

Taxpayer Advocate
Taxpayer Advocate Service
31 Hopkins Plaza, Room 940
Baltimore, Maryland 21201

Re: Case Number 3573210
Subject: American Vending Group, Inc. XX-XXXXXXX

Dear Ms. Voila,

O
concerning a civil penalty that had been assessed against American Vending Group for
failure to file information returns in tax year 1998.

Our case was assigned to Case Advocate Ms. C. Jones. While Ms, Jones has been very
courteous, after nine months of various phone calls and a number of letters, we have yet
to have our concerns addressed. Our concerns are:

1. Provide IPRS or AIM transcripts showing the date the penalty was assessed and the date
of the notice that complied with the 60 day requirement of IRC § 6303, and

2. Provide the calculation of the penalty as provided by IRC § 6722(a) and (c), and

3. Provide the Service’s determines that the taxpayer's failure to file two information
returns was not “intentional disregard”,

Enclosed is a copy of a letter requested by Ms. Jones, which discussed in a fact, law and
conclusion format our Position regarding the applicable penalty, and the what we request the
Service to provide. The letter speaks for itself.

Even though we have never received the information we requested in our letter of June 15, 2006,
Ms. Jones called us on August 23, 2006 and informing me that her manager has instructed her to
close the case, I explained to Ms. Jones I have not received the information I requested in my
letter of June 15, 2006 and before she closed the case ! would like to have an opportunity to talk
to her manager. To date I have not heard from Ms. Jones’ manager,

We contacted the Taxpayer Advocate Service because in your literature your Organization
advocates, “Your assigned Case Advocate will listen to your point of view and will work with
you to address your concerns”. Obviously, in our case this has not happened.

I would appreciate any Consideration you can extend to us in addressing our three concerns as
Stated above and in our letter of June 15, 2006,

If you have questions Concerning this matter, please contact me at my daytime number

(202) 442-6509, (301) 991-4547 or eablick1 @aol.com.

Very truly yours,

Edward A. Blick
Enclosure:

Taxpayer Advocate Letter of June 15, 2006
: f 68
os Ai A ERov-dhe Pfting orare Raapayercrtiveatel deratae indapondently of any othe, IRS Office

AT and reports directly to Congress through the National Taxpayer Advocate.

DRUG eRe EAE
finite

Date: October 6, 2006

Edward Blick

c/o American Vending Group Inc.
619 Blick Drive

Silver Spring, MD 20904

Taxpayer Identification Number: XX-XXXXXXX
Tax Form: Civil Penalty

Tax Period Ending: 12/31/1998

Case Number: 3573210

Dear Mr. Blick:

P
Compliance Unit in the Philadelphia Service Center for review. On July 19, 2006 the
Compliance Unit determined the reversal of the penalty would not be considered until
the required VWV-2's were Supplied. We requested the W-2's from you several times and
you have failed to provide them. We are closing your inquiry in our office since the
reversal of the penalty can not be Pursiied without the W-2's. We will not consider
reopening your inquiry in our office unless W-2's are provided.

Taxpayer Advocate Service, P.O, Box 1553, Baltimore, MD 21203 a
Contact: C. Jonas ~ Employee Number $2-06838 Avallable Hours 7:30 a.m. — 4:00 p.m. (EST) M-FRS
Direct Extension 410-962-6985 Toll Free 866-211-7969 Fax 41 0-962-7269 Toll Free Fax 866-330-0817
Web Site Address www. irs.gov i

TAS Letter 1285
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 35 of 68

Thank you for your
apologize that your
Caused you.

patience and cooperation w

hile this was being resolved, | sincerely
client penalty was not abat

ed and for any inconvenience this has

Sincerely,

C. Jones
Case Advocate

Taxpayer Advocate Service,
Contact: ©. jones - Employes Number §2-0683
Direct Extension 44 0-962-6985

P.O. Box 1553, Baltimore, MD 24203

8 Available Hours 7:30 a.m. ~ 4:00 p.m. (EST) M-F
Toll Free 866-211-7868 Fax 410-962-7259 Toll Free Fax 866-330-0817
Web Site Address www.lrs.gov

TAS Letter 1285
Case 8:07-cv-0227 WGC Document 24 Filed 05/19/08 Page 36 of 68

843 Claim for Refund and Request for Abatement OMB Ne, 1548-0024
repr “ asanen » See separate Natrictions.

Use Form 843 only i your ciaim Involves (a) one of the taxes shown on ane 3a or fb) a refund of abalament of interest, penaities,
oF aciditions to tax on fine da.

Do nat te Form 843 if your claim iz form

* An overpayment of income texas;

© A refund for nontaxable use (or sates} of fait or

© An overpayment of excise taxes reported on Farms} 11-C, 720, 730. or 2290.

Name of olalmant Your S&N or [TIN
Amertoan Vending Group, Ino. : :
Address fhumbar, atreal, and room or sults not Spouae's SSN or TIN
10805 Concord Strest, Suite 440 : i
Glty or town, state, and 217 cote Employer Ideatification number (PIN)
Kangington, MD 20085 BT 2O37TAs,
Name and addresa shawn on raturri if different from above Daytime telephone number
. ioe) 376-434
1 Period, Prepare 4 xeparate Form 843 for each tax period 2 Amouat té be sefunded or abstacl
From o1/ =f {1908 to tai 41 / #008 5 64,049.70

Gm Type of tax, penalty, 7 addiiler to tax:
CL] Employment () Eaiate _ Matt O Exclae (see inaructions)
Wi Petetty—IRC sectian & Yai ~

vert 208 SL 20 0 ado 943 f | 4720. Other (specity) W-2

4 Fecvest for abatement or refund of:
[2] Internet me 9 result of (RS arrors or delays,
[1 A senaity or addition to tax at + result of erroneous advice ituin the IS.

b Dates of sayrnent > Fr
- on/2 1/2008

ema

§ Explanation ancl sdditiana! clans, Expisin why you believe this claim snouid be wowed, Kad show the computation of your
tax refund oF abatement nf interest, penaly, or edditen 9 tax. Ifyou need mare space, attach additlona! ahzets.

SEE ATTACMBENT

|
ocr 3 OB
|

Signature. | you are fling Form 843 to raquect a efund or abatement rainting to «joint raurh, both you and you epcuae Must
sign the olalm, Claims filed by rationg must be signed Gy 9 corporate officer authorized io sign, wd the eighature must ba
accompanied by the officer's titg.

PUNE R Aen emma NAO TE Ne em R aR OEE NOR ee aE ae EAA EUE! Bule e ae inde ge} auay ch pew eens

sigharne tease

9

for Privacy Act and Paperwork Aaductien Act Noticu, eas separate Instructors, Gat. Na. 101808

Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 37 of 68

The taxpayer was incorporated 1/1/1 998 and began business in July 1998, The taxpayer paid
total wages in the period 07/01 /1 998-9/51/1998 of $24,72: 38 and filed a Form 941 and paid
$3,085.43 in FICA tax, $716.91 in FUTA tax and $2,042.86 in income tax withheld. The
taxpayer paid total wages in the geriod 10/01/72 908-12/31/1998 of $6,424.13 aad filed a Fors
941 and paid $796.39 in FICA. tax, $186.29 in FUTA tax and $427.05 in tacome tax withheld.
Op 12/03/2001, IRS motifice the texpeyet chat its account was assessed a Miscellaneous Penalty
in the emount of $3,114.53. The taxpayer was wuable to substardiation thet t issued 1Y98 W-¢
fez its ‘wo employees employed during the period 07/01/1998 through 12/31/1998. “Au
overpayment credit in the amount of $203.73 was applied to the assessment, leaving a balance of
$2,910.80. After the axpayer exercised its sdrrinistrative rights for a reconsideration of the
penalty, on 09/21/06 IRS geizes! $3,916.06 “from the taxpayer bank account as full payment of
the 1968 miscellaneous penalty.

‘The penalty in question is located at TRC § 6721, Failure to file correct information returns.

Section (a)(1) is the gemeral rule ha: provides a $50 penalty for each failure to file an
infarmation retum.

Section (e2) provides that in the care of intentional disregard, the penalty is 10% of the
amount required to be reported.

IRC Regs. § 30i-6721-1(f) provides:

(2) Meaning of “intentional disregard". A failure is due to intentional disregard if it is

knowing or willful-

G) “Failure to file timety, oF

Gi) Failure to include cozsec! tnfoemation. Whather a person knowingly of willfully fails
to fite timely or fails to inciude correct inforrnation ig determined on. the baste nf ali
the facts and circumstances in the particular case.

3) Facts and circumstances considered. The facts and circurnstances that are considered in

determining whether a failure is due to intentional disregard include, but are not limited to:

ai Whether the failure to file timely or the failure to include correct information is part
of a pattern of conduct by the person who filed the return of repeatedly failing to file
or repeatedly failing to include correction information:

Gi) Whether correction was promptly made upon discovery of the failure,

(iil) | Whether the filer corrects a failure to file or a failure to include information within 30
days after the date of any written request froma the IRS to file of © correct; wad

‘ The taxpayer's bookkeeper that prepared the Forma 941 and $40 stated that she prepared W-2 (or the two
employees.

2 The total amount paid is $4,119.79 representing the overpayment credit applied in the amount of $203.73 and the
bank seizure 09/21/2006 of $3,916.06.

Page | of 2

tran eae VG FOTUF INNAASLS DY
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 38 of 68

(iv) Whether the amount of the information reporting penalties is less than the cost of
complying with the requirement to file timely or to include correct information on an
information return.

The texpayer received no notice from IRS until December 3, 2001. The failure, if it did occur,
occurred in the first year the taxpayer was in business. There is no patter of conduct of repeated
failures. The taxpayer has continued in business all these years and has a history of tax
compliance and has always been current in all tax filing and payments requirements. This is an
isolated incident of an inexperienced businessperson in his first year of operations.

There was no opportunity to correct the failure after receiving the notice from the Service. The
notice was received almost three years after the due date of the information returns and by that
time the employees in question were no longer employed by the texpaver. Ths businare isa
vondiay tuaclune yperation whose employee stock vending machines throughout Montgomery
County, Marviand. The position requires little skill and she tenover ig substantial. Generally,
the emplovecs deift fom exe job to another and from one iveation to another. The taxpayer’s
attempt to locate these two employees to verify that they reported the compensation they
received from the taxpayer in 1998 proved fixtits.

We feel that the taxpayer. an inexperience husinesamen in the Seat your of Gascon, diss curt
intentionally cdizegurd its obligetion to file in 1998 Forms W-2 to two employees. The IRS
notice wes received almost three years after the Forms W-2 were due. At that time, the
eiiployees in question were no longer employed by the taxpayer. The taxpayer attempts to
locate the employees proved tutile. Since the period in question, the taxpayer has a compliance
histozy of timely filing 2nd paying all its cmmployment tax obligations. Finally, the Service
received full payment for the taxpayer's 1998 employment tax abligation. There is no lost
revenue to the Government.

Wes equest a refund of $4,019.79, that cepresent the balance of the total payment of $4,119.79
leag the payment of the penalty of $90.00, $50 cach for the two W-2 as provided by [RS §
67M’, tet the Taxpayer cannot suostantiate it issued.”

, There should be no interest charge since the Service had 100% of the employment tax and did not surfer any loas
in the time value of the Government money.

Page 1 of 2

CaP PA
wows 24u0D Lligo 4LU~Jb2- /255 IAXPAYER ADVOCATE PAGE 82

i Pape 1 of 2
Transcript Delivery, S¥StE05277-.WGC Document 24 Filed 05/19/08 Page 39 of 68

G& Internal Revenue Service _ — vices

CEPRATWENT OF THE TREASURY

is Pro

Requast Date: 08-03-2006
Reaponse Date: 68-03-2006
Account Transcript . IRS Employee Number: GGGCB

Tracking Number: 100008135965

duet Containa Seneitive Taxpay’

FORM NUMBER: CIVIL PENALTY TAX PERIOD: Dec. 31, 1998
TAXPAYER IDENTIFICATION NUMBER: 52-20912304

AMERICAN VENDING GROUP INC
6701 DEMOCRACY BLVD STH 555

BETHESDA, MD 20617-7519-307
ceexPOWER OF ATTORNEY/TAX INFORMATION AUTHORIZATION (POA/TIA) ON FILE>>>>

--- ANY MINUS BELOW SIGNIFIES A CREDIT AMOUNT ---

ACCOUNT BALBNCE: $2,916.80
ACCRUED INTEREST: $873.59 AS OF: Aug. 14, 26006
ACCRUED PENALTY: $0.00 A9 OF:

ACCOUNT BALANCE
PLUS ACCRUALS | $2,784.35

TAX PER TAXPAYER: 5.06

RETURN WOT PRESENT FOR THIS ACCOUNT

: “TRANSACTIONS _
CODE EXPLANATION OF TRANSACTION CYCLE DATE AMOUNT
240 MISCELLANEOUS PENALTY IRC 6721 PENALTY FOR 200147 12-03-2001 ° $3,114.53

INTENTIONAL DISREGARD
28354=717-82243-1

706 OVERPAID CREDIT APPLIED 03-16-1999 *$203.73
4220 1998612
971, INTENT TO LEVY COLLECTION DUE 02-04-2006 $0.09

PROCESS NOTICE
LEVY NOTICE ISSUED

560 RECGETVED POA/TIA 03-%78+2008 $0.06
$71 INTHNT TO LEVY COLLECTION DUE 04-25-2006 $0.06

PROCESS NOTICES
RETURN RECEIPT SIGNED

https://oup.eps.irs.gov/PORTAL-PROD/pse/CRM/EMPLOYEE/CRM/c/TDS_ME
29/01/2886 14:12 418-962-725

Case 8:07-cv-
e 8:07-cv-02277-WGC ‘Document 24 Filed 05/19/0

Station Name: BLTOOGWAZ1$...v6-

9 TAXPAYER ADVOCATE

Date:

8/1/2006 Time: 12123: 1.

8,, Page 40 | 68

XX-XXXXXXX 01199812000 RETURN: FORM 941 NM CTRL: AMER

26141-051-04528-9 DpHcYC: 3. |

RETENTION AMERICAN VENDING GROUP INC 941 1120 CT-1

TRANS ASSESS DT CYCLE REMITTANCE AMT TRANS DT TOT TAX LIAB! iTY AMT

189 «03-29-1999 199922 0.00 02-11-1999 $69.94

BRD PARTY/PALD PREP! CKBA: DPIN: PHONE #: AUDIT 2p8:

PAID PREP: DPIN/SSN: PHONE#: MATH STAT.!3 GD: 2

MONTHS DELINQUENT: J TP NOTICE CODES: 000000 PENALTYSINTEREST CD:

ALeH COND CDS: CORR RCVD DT: 02-11-1999 RPS: N

RETURN CD: 00

TAX PER TAXPAYER: 1,469.94 SCHEDULE IND: 0

DEPOSIT STATE:MD BASE PERTOD CD:01 PREV MOD BASE PRD CD:0

TOTAL COMP: ~~ 6,424.13 TIL INC TX WIHELD: 0.00

TXBL S9A WAGES: 6,424.13 TXBL SSA TIPS: | 66.00

TXBL MED WAGE/TIPS: 6,424.13

TAX ON SSA WAGES: 796.59 TAX ON SSA TIPS: 0.00

TAX ON MED WG/TIPS: 186,29

TTL SSA/MED TAX: 0.00 TTL TX BEFORE ADJ: 0.00
MONTHLY LIABILITY AMOUNTS

1ST: 586.10 2ND: 467.34 3RD: 416.50

PAGE 001 OF 002

BMFeG 002

69/01/2086 14:12 418-962-7253

Case 8:07-cv-02277-WGC

TAT PU et ee

Station Name : BLTOQSWAZ1 _Date:

28141-051-04528-9

RETENTION AMERICAN VENDING GROUP TNC

941 1120 CT-1

ADJUSTMENTS

CUR QTR FRAC CENT:

9.00

CUR QTR TIPS/GLI: 6.00
PR QTR SSA/MED TX: 0.00
SPEC ADD SSA/MED: 0.00
ADVANCED EIC: 0.00
2004 AND

ADJ TOT SSA/MED TH: 982.88
9.00 ADJ TO WITHHOLD:

ADJ SSA/MEDCRE TXS:

CUR QTR SICK PRY:
cUR YR INC TX WTH:
SPEC ADD FED TAX:
TOTAL ADCUSTMENTS :
TOTAL DEP FOR QTR:

PRIOR RETURNS

ADJ TOT TAX WIHLD:

1993 AND PRIOR RETURNS

RDI TTL BKUP WTHLD:

TIPS DBEMED WAGES:

PAGE 002 OF 002

0.00

1987 AND PRIOR RETURNS
0

BMFPG 001

ye-cyc: I

i,

9 PORTER BAe iter Q5410/08M Page Al af 6g) -——_——
i

2=-20391304 01199812000 RETURN: FORM 941 NM CTRL: AMER

ge/ei/20a6 14:12 419-962-7253

Case 8:07-cv- - '
Cv-02277 WGC, AGIOS Es te: Fag¢ 9/49/0841 Page 42 of 68

1eaAr ea Tem Maver

station Name: BLTOOGWAZL9. J. vate

2-2091304 61199809000 RETURN:

28141-051-07666-9

RETENTION AMERICAN VENDING GROUP INC
ADJUSTMENTS

CUR QTR FRAC CENT:
CUR OTR TIPS/GLI:
PR QTR SSA/MED TA!
SPEC ADD SSA/MED:
ADVANCED BIC:

0.00
0.00
0.00
0.00
0.00

FORM 941 NM CTRL: AMER

g41 1120 cT-1

CUR QTR SICK PAY:
CUR YR INC TX WTH:
SPEC ADD FED TAX:
TOTAL ADJUSTMENTS:
TOTAL DEP FOR QTR:

2004 AND PRIOR RETURNS
ADI TOT SSA/MED TX: 3,782.34 ADJ TOT TAX WIHUD:
0.00 ADT TO WITHHOLD:

ADJ SSA/MEDCRE TXS:

ADI TTL BKOP WIHLD:

1993 AND PRIOR RETURNS
0.00

1987 AND PRIOR RETURNS

TIPS DEEMED WAGES:

PAGE 002 OF 002

0.00

BMFPG O01

|

|
up-Cyc: 31

tt we

as/ 01/2806 1aih2 418-962-7253 TAXPAYER ADVOCATE
ase 8:07-cv-02277-
77-WGC Document 24 Filed 05/19/08 Page 43 of 68
3 date: 6/1/2006 qime: 11:29:37 4

Station Name:
XX-XXXXXXX 01199809000 RETURN: FORM 941 NM CTRL: AMBER , i
UP-CYC:3),

3$141-051-07666-3
RETENTION AMERICAN VENDING GROUP INC 941 1120 CT-1 t
TRANS DT TOT TAX LIABILITY AMT

TRANS ASSESS DT CYCLE REMITTANCE AMT
0.00 02-11-1993 3, 325.20

We oe ree eee

BLTOO6GWAZ12 —

150 93-29-1999 199911 3

3RD PARTY/PAID PREP: CKBX: DPIN: PHONE #: AUDIT i308:

PAID PREP: DPIN/SSN: PHONE#: MATH STATU! Sp; 2

MONTHS DELINQUENT: 4 TP NOTICE copes :000000 PENALTYSINTEREST CD:')

RALPH COND CDS: CORR RCVD DT: 62-11-1999 RPS: N

RETURN CD: 00 |

TAX PER TAXPAYER: 5,825.20 SCHEDULE IND: 1

DEPOSIT STATE:MD BASE PERIOD CD:01 PREV MOD BASE PRD cD:0 !

TOTAL COMP: — 24,721.36 TIL INC TX WIHELD: 0.00

TXBL SSR WAGES: 24,721.26 TXBL SSA TIPS: 0.00

TXBL MED WAGE/TIPS: 24,721.26

TAX ON SSA WAGES: 3,065.43 TAX ON SSA TIPS: 0.00

TAX ON MED WG/TIPS: 716.91
0.00 TTL TX BEFORE ADJ: 0,00

TTL SSA/MED TAX:

MONTHLY LIABILITY AMOUNTS :
LST: 9.00 2ND: 3.60 380: i 9.
||!

PAGE 001 OF 002 BMFPG 002

Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 44 of 68

IN THE UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF MARYLAND
AMERICAN VENDING GROUP, INC, )
Plaintiff,
Vv. No. 8:07-cv-2277-AW
UNITED STATES,
Defendant. )

UNITED STATES’ RESPONSE TO AMERICAN VENDING
GROUP INC,’S FIRST SET OF INTERROGATORIES

The United States responds and objects to the plaintiff's first set of
interrogatories served on January 28, 2008 as follows:

Interrogatory no. 1.

For tax year 1998, please explain the method used by the Internal Revenue
Service to calculate the 26 U.S.C. § 6721 penalty that was assessed against the Plaintiff.
Response: The United States objects to interrogatory no. 1 because it assumes that

section 6721 penalties are “calculated” by a “method.” Penalties under
section 6721 are assessed according to factual criteria established by
statute.

Interrogatory no. 2.

For tax year 1998, please provide the name or names of the Internal Revenue
Service personnel that asserted and assessed of the 26 U.S.C. § 6621(e) penalty against
the Plaintiff.

Response: No penalty was assessed under section 6621(e).

3063374.2

Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 45 of 68

Interrogatory no. 3.

For tax year 1998, please provide the name or names of the Internal Revenue
Service personnel that determined that Plaintiff's failure to file W-2s was due to
“intentional disregard” of the requirement to file correct information returns.
Response: The United States does not know the identities of the individuals involved

in the assessment of this penalty.

Interrogatory no. 4.

For tax year 1998, please provide the citation to all the Internal Revenue Service's
guidelines used to determine whether a taxpayer failure to file W-2s was or was not due
to “intentional disregard” of the requirement to file correct returns.

Response: The United States objects to interrogatory no. 4 because it is irrelevant and
not reasonably calculated to lead to the discovery of admissible evidence.
Moreover, this interrogatory is essentially a request for legal research
within and among the Internal Revenue Service’s published materials. To
this extent the discovery is objectionable in that responses can be obtained
by plaintiff from publicly. available sources more conveniently, less
burdensomely, and less expensively.

Interrogatory no. 5.

For tax year 1998, please provide the basis for determining that the Plaintiff's
failure to file W-2s was due to “intentional disregard” of the requirement to file correct

information returns.

2 . 3063374.2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 46 of 68

Response: Plaintiff failed to file a correct return in a timely manner. Plaintiff made
no correction upon discovery of any mistake and no payments were made
within 30 days of any request from the Service to file or to correct the
return given that the penalty was collected through a levy.

Interrogatory no. 6.

For tax year 1998, please provide the Plaintiff’s facts and circumstance that were
used to determining that Plaintiff's failure to file W-2s was due to “intentional
disregard” of the requirement to file correct information returns.

Response: Plaintiff failed to file a correct return in a timely manner. Plaintiff made no
correction upon discovery of any mistake and no payments were made
within 30 days of any request from the Service to file or to correct the
return given that the penalty was collected through alevy.

Interrogatory no. 7.

For tax year 1998, please provide the names of all Internal Revenue Service
employees that had knowledge of the 26 U.S.C. § 6712 penalty asserted and assessed
against the Plaintiff.

Response: No penalty was assessed under section 6712.

Interrogatory no. 8.
Please provide the citation of all court cases that support Defendant's position
that Plaintiff's failure to file W-2s was due to “intentional disregard” of the requirement

to file correct information returns.

3 3063374.2
Case 8:07-cv-02277-WGC Document 24. Filed 05/19/08 Page 47 of 68

Response: The United States objects to interrogatory no. 8 because it is irrelevant and
is not reasonably calculated to lead to the discovery of admissible
evidence. Moreover, this interrogatory is a request for legal research, to
be conducted by counsel for the United States. As such, the interrogatory
seeks to compel the creation and disclosure of attorney work product.
Furthermore, the discovery is objectionable in that responses can be
obtained by plaintiff from publicly available sources more conveniently,

less burdensomely, and less expensively.

VERIFICATION

The foregoing is true and correct to the best of my information and belief, based
upon my review of agency records, discussions/interviews with agency personnel,
and/or personal knowledge. I declare under penalty of perjury that the foregoing is

true and correct. Executed on March 3, 2008.

/s{ Ari Kunofsky

ARI D. KUNOFSKY

Trial Attorney, Tax Division
U.S. Department of Justice
Post Office Box 227

Ben Franklin Station
Washington, D.C. 20044
Telephone: (202) 353-9187
Email: Art.D.Kunofsky

4 3063374 .2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 48 of 68

IN THE UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF MARYLAND
AMERICAN VENDING GROUP, INC, )
Plaintiff,
v. No. 8:07-cv-2277-AW
UNITED STATES,
Defendant. )

UNITED STATES’ RESPONSE TO AMERICAN VENDING GROUP,
INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

The United States responds and objects to the plaintiff's first set of requests for

production of documents served on January 28, 2008 as follows:
Request for Production no. 1.

Please provide copies of all Form 941 transcripts of accounts for Plaintiff for tax
quarters beginning for the 1* quarter of 1999 through 4" quarter of 2007.
Response: The United States will provide copies of the requested documents as Exhibit

101.

Request for Production no. 2.

Please provide copies of all W-2 and W-3 transcripts of accounts for Plaintiff for tax
quarters beginning for the 1* quarter of 1999 through 4" quarter of 2007.

Response: The United States has not been able to locate these documents.

1 3063374.2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 49 of 68

Request for Production no. 3.

Please provide copies of all Form 941 returns filed for Plaintiff for tax quarters for
the 1 quarter of 1999 through 4" quarter of 2007.
Response: The United States has not been able to locate these documents.
Request for Production no. 4.
Please provide copies of all Form W-2 and W-3 filed by Plaintiff for tax quarters for
1999 through 2007.
Response: The United States has not been able to locate these documents.
Request for Production no. 5.
Please provide a copy of the Internal Revenue Service Center’s administrative file
for the Plaintiff's 26 U.S.C. § 6721 penalty.
Response: The United States has not been able to locate these documents.
Request for Production no. 6.
Please provide a copy of the Baltimore Tax Advocate Service's administrative file for
the Plaintiff's 26 U.S.C. § 6721 penalty.
Response: The United States objects to request no. 6 because it is irrelevant and is not
reasonably calculated to lead to the discovery of admissible evidence. The
United States further objects to the extent this request seeks documents
subject to the government-deliberative-process privilege. Without waiving
these objections, the United States has not been able to locate these

documents.

2 3063374.2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 50 of 68

Request for Production no. 7.

Please provide a copy of the Internal Revenue Service-District Counsel's
recommendation concerning Plaintiff's Form 843- Claim for Refund prepared by Imnessa
Glmagman.

Response: The United States objects to request no. 7 because it is irrelevant and is not
reasonably calculated to lead to the discovery of admissible evidence. The
United States further objects to the extent this request seeks documents
subject to the attorney-client privilege and the government-deliberative-
process privilege. Without waiving these objections, the United States has
not been able to locate these documents,

Request for Production no. 8.

Please provide copies of all documents that refer or relate to the determination that
Plaintiff's failure to file W-2s was due to “intentional disregard” of the requirement to file
correct information returns.

Response: The United States objects to the extent this request seeks documents subject to
the government-deliberative-process privilege. Without waiving these

objections, the United States has not been able to locate these documents.

3 3063374.2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 51 of 68

Request for Production no. 9.

Please provide copies of all documents that refer or relate to the determination to
refer Plaintiff's 26 U.S.C. § 6721 penalty assessment to the Internal Revenue Service’s
collection division to implement collection activity, i.e. seizure of bank account.

Response: The United States objects to request no. 9 because it is irrelevant and is not
reasonably calculated to lead to the discovery of admissible evidence.
Request for Production no. 10.

Please provide copies of all documents that refer or relate to the seizure of Plaintiff's
funds from its bank account, including all notices.

Response: The United States objects to request no. 10 because it is irrelevant and is not
reasonably calculated to lead to the discovery of admissible evidence.
Request for Production no. 11.

Please provide copies of the facts and circumstances that were the basis to determine
that Plaintiff's failure to file W-2s was due to “intentional disregard” of the requirement to
file correct information returns.

Response: The United States objects as this request is too vague to allow it to respond.
The United States is unsure of what the plaintiff is seeking. Without waiving
these objections, the United States asks the plaintiff to look to Response to

Interrogatories nos. 4 and 5.

4 3063374.2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 52 of 68

Request for Production no. 12.

Please provide copies of all correspondence forwarded to American Vending Group,
Inc. by the Internal Revenue Service including but not limited to the any Taxpayer
Advocate Service Office and/or any Internal Revenue Service Center.
Response: The United States objects that this is unduly burdensome because any such
correspondence should be in the possession of American Vending Group, Inc.
Without waiving this objection, the United States has not been able to locate

these documents.

Date: March 3, 2008
/s/ Ari D. Kunofsky
ARI D. KUNOFSKY
Trial Attorney, Tax Division
U.S. Department of Justice
Post Office Box 227
Ben Franklin Station
Washington, D.C. 20044
Telephone: (202) 353-9187
Email: Ari.D.Kunofsky@usdoj.gov

5 3063374.2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 53 of 68

IN THE UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF MARYLAND
AMERICAN VENDING GROUP, INC., )
Plaintiff,
Vv. No. 8:07-cv-2277-AW
UNITED STATES,
Defendant. )

UNITED STATES’ RESPONSE TO AMERICAN VENDING
GROUP INC.’S FIRST SET OF REQUESTS FOR ADMISSIONS

The United States responds and objects to the Plaintiff's first set of requests for

admissions served on January 28, 2008 as follows:

Request for Admission no. a.

Admit that prior to asserting the 26 U.S.C. § 6712 penalty, Defendant did not contact
Plaintiff to obtain the facts and circumstances why the Plaintiff did not file W-2s for tax
year 1998.

Response: Denied. No penalty was assessed under § 6712.

Request for Admission no. b.

Admit that the Plaintiff's facts and circumstances were not considered to determine
that Plaintiff's failure to file W-2s was due to “intentional disregard” of the requirement to
file correct return information.

Response: Denied.

1 3063374.2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 54 of 68

Request for Admission no. c.

Admit that Plaintiff was assessed the 26 U.S.C. § 6721 penalty without considering
the Plaintiff's facts and circumstances related to its failure to file W-2s for tax year 1998.

Response: Denied.

Request for Admission no. d.

Admit that the Defendant seized Plaintiff’s bank account without providing notice
as required by the Internal Revenue Code.
Response: Denied.

Request for Admission no. e.

Admit that Imnessa Glmagman of the Washington, D.C. Office of Internal Revenue
District Counsel was not in possession of Plaintiffs Form 843-Claim for Refund prior to
Plaintiff providing Ms. Gimagman with the return.

Response: Denied.
Request for Admission no. f.

Admit that United States does not have an administrative file of Plaintiff's Form 843-

Claim for Refund or any other Plaintiff's administrative file.

Response: Denied. The United States has not been able to locate these documents.

2 3063374.2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 55 of 68

Request for Admission no. g.

Admit that the at the date Plaintiff was notified of its alleged failure to file W-2, the
statute of limitations for assessment had expired as to the two employees the Defendant
alleges Plaintiff failed to furnish W-2s.

Response: Denied.
Date: March 3, 2008

/s/ Ari D. Kunofsky

ARI D. KUNOFSKY

Trial Attorney, Tax Division

U.S. Department of Justice

Post Office Box 227

Ben Franklin Station

Washington, D.C. 20044
Telephone: (202) 353-9187

Email: Ari.D.Kunofsky@usdoj.gov

3 3063374.2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 56 of 68

Certificate of Service
I certify that I served that the foregoing United States’ Response to American Vending
Group Inc.’s First Set of Interrogatories, United States’ Response to American Vending Group,
Inc.'s First Set of Requests for Production of Documents, and United States’ Response to American
Vending Group Inc.’s First Set of Requests for Admissions were served on March 3, 2008, by
certified mailing, postage prepaid, addressed to:
Edward A. Blick, Esq.

619 Blick Dr.
Silver Spring, MD 20904.

/s/ Ari Kunofsky
ARI D. KUNOFSKY

4 3063374.2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 57 of 68

IN THE UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF MARYLAND
AMERICAN VENDING GROUP, INC, )
Plaintiff,
Vv. No. 8:07-cv-2277-AW
UNITED STATES,
Defendant. )

UNITED STATES’ RESPONSE TO AMERICAN VENDING
GROUP INC.’S SECOND SET OF INTERROGATORIES

The United States responds and objects to the plaintiff's second set of
interrogatories served on March 8, 2008 as follows:

Interrogatory no. 1.

For tax year 1998, please provide the name or names of the Internal Revenue Service.
personnel that asserted and assessed of the 26 U.S.C. § 6621 penalty against the Plaintiff.

Response: No penalty was assessed under section 6621.

Interrogatory no. 2.

For tax year 1998, please provide the name or names of all Internal Revenue Service

employees that had knowledge of the 26 U.S.C. § 6721 penalty asserted and assessed

against Plaintiff.

Response: The United States objects to interrogatory no. 2 because this interrogatory
is irrelevant and not reasonably calculated to lead to the discovery of
admissible evidence to the extent the plaintiff seeks information regarding

the penalty’s collection rather than its assessment. Without waiving this

3124836.11
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 58 of 68

objection, the United States has been unable to locate the Service

employees that have knowledge of the § 6721 penalty's assessment.

VERIFICATION
The foregoing is true and correct to the best of my information and belief, based
upon my review of agency records, discussions/interviews with agency personnel,
and/or personal knowledge. I declare under penalty of perjury that the foregoing is

true and correct. Executed on April 10, 2008.

Lf Ari Kunofsky

ARI D. KUNOFSKY

Trial Attorney, Tax Division

U.S. Department of Justice

Post Office Box 227

Ben Franklin Station

Washington, D.C. 20044
Telephone: (202) 353-9187

Email: Ari.D.Kunofsky@usdoj.gov

] 3124836.11
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 59 of 68

IN THE UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF MARYLAND
AMERICAN VENDING GROUP, INC., )
Plaintiff,
v. No. 8:07-cv-2277-AW
UNITED STATES,
Defendant. )

UNITED STATES’ RESPONSE TO AMERICAN VENDING
GROUP INC.’S SECOND SET OF REQUESTS FOR ADMISSIONS

The United States responds and objects to the plaintiff's second set of requests for

admissions served on April 15, 2008 as follows:

Request for Admission a.

Admit that prior to asserting the 26 U.S.C. § 6721 penalty, Defendant did not contact the
Plaintiff to obtain the facts and circumstances as to why the Plaintiff did not file W-2s for
tax year 1998.

Response: Denied.

Date: April 24, 2008 Ca! fof

/s/ Ari D. Kunofsky

ARI D. KUNOFSKY

Trial Attorney, Tax Division

US. Department of Justice

Post Office Box 227

Ben Franklin Station

Washington, D.C. 20044
Telephone: (202) 353-9187

Email: Ari.D.Kunofsky@usdoj.gov

3223040.1
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 60 of 68

Certificate of Service
I certify that I served that the foregoing United States’ Response to American Vending

Group Inc.’s Second Set of Interrogatories served on April 10, 2008, by certified mailing,
postage prepaid, addressed to:
Edward A. Blick, Esq.

619 Blick Dr.
Silver Spring, MD 20904.

fs Ari Kunofsky
ARI D. KUNOFSKY

2 3124836.11
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 61 of 68

IN THE UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF MARYLAND
AMERICAN VENDING GROUP, INC., )
Plaintifé,
v. No. 8:07-cv-2277-AW
UNITED STATES,
Defendant. )

UNITED STATES’ RESPONSE TO AMERICAN VENDING
GROUP INCG.’S THIRD SET OF INTERROGATORIES

The United States responds and objects to the plaintiff’s second set of

interrogatories served on April 15, 2008 as follows:

Interrogatory no. 1.

For tax year 1998, please provide the name or names of the Internal Revenue Service

personnel that asserted and assessed of the 26 U.S.C, § 6721 penalty against the Plaintiff.

Response: The United States objects to interrogatory no. 1 as being untimely filed as
our response to this discovery would be due on or after Monday, May 19,
2008. Additionally, this information irrelevant and not reasonably
calculated to lead to discoverable information. Without waiving these
objections, the United States does not know the identities of the

individuals involved in the assessment of the penalty.

3223040.1

ASF
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 62 ot 68}

VERIFICATION

ca

discussions /interviews with agency person? ?,,
be |

The foregoing is true and correct to the best of my information and belief, las

upon my review of agency records,

w

and/or personal knowledge. I declare under penalty of perjury that the foregoing’

1;
true and correct.

I

.
Executed on April 24, 2008. Ox
/s/ Ari Kunofsky vf

ARI D. KUNOFSKY vo
Trial Attorney, Tax Division
U.S. Department of Justice oT
Post Office Box 227
Ben Franklin Station
Washington, D.C. 20044
Telephone: (202) 353-9187
Email: Ari.D.Kunofsky@usdoj. gy
‘| qi

3223040.1

BARAY FURR
Lid -
ANY id gees Rie orn eee else fitlepm Fe med

mw er

Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 63 of 68

(N THE UNITED STATES DISTRICT CouRT
FOR THE DISTRICT OF MARYLAND

a wane

AMERICA®: VENDI GROUP, INC.

Yen tt

Vv. No. 807 2277-AW
U. §. GOVERNMENT

Defendant

AFEIDAVLT
1, Ellen C. Rorrer (“Declarer”) and a resident of 9429 Diamondback Road, County of
Howard, State of Maryland and do hereby certify, swear or affirm under the penalty of
perjury, and declare that ! am component to give the following declaration based on my
personnel knowledge, unicss otherwise atated, and that the following facts and things are
true and correct to the best of my knowledge
1. For part of 1998 and 1999, | was the bookkeeper for American Vending Group, Inc.
(“American”).
2, In 1998 and 1999, | prepared for American the Employer’s Federal Quarterly Tax
Returns, IRS Form 941, Employer's Federal Unemployment Annual Tax Return, IRS
Form 940, and the Wage and Tax Statements, LAC Form W-2 and the Transmittal of
Wage & Tax Statement, IRC Form W.3,
3. [gave the 1998 Wage and Tax Statements, IRC Form W-2, and the Transmittal of

Wage & Tax Statement, IRC Form W-3 to Mr. Blick.

puge | of 2
BARRY FORRER 410 GeEzVsso BB/1a/BG Llltl@em P. bz

MAY 18-2808 12 BF Pr 7 . “ coat
~ Case 8:07-Cv-02277-WGC Document 24 Filed 05/19/08 Page 64 of 68° °*

rn
| a day (hoy year and month ADCS

WITNESS my signature this

Flore’ Katey

Ellen C. Rorrer, Declarer

State of Marylar d
County of, Mmntyonery
Subscriber and swom to before me this 14 hy of Men , 2008.

KM Oud trol

Notary Public
My commission expires:
ITAM, FREDERICK
R NOTARY PUBLIC
MONTGOMERY COUNTY
MARY june 1, 2010

My Commission Expires

Page 2 db 2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 65 of 68

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

AMERICAN VENDING GROUP, INC.
Plaintiff

V. No. 8.07-cv-2277-AW

U. $8. GOVERNMENT

Defendant

AFFIDAVIT
I, John S. Blick (“Declarer”) and a resident of 14200 Marian Drive, County of
Montgomery, State of Maryland and do hereby certify, swear or affirm under the penalty
of perjury, and declare that I am component to give the following declaration based on
my personne] knowledge, unless otherwise stated, and that the following facts and things
are true and correct to the best of my knowledge
1. lam the sole stockholder and general manager of American Vending Group, Inc.
2.lama commercial real estate agent who recognized a business opportunity to place
vending machines in office buildings I leased.
3. Prior to 1998, the vending machine business was operated as a sole proprietorship.
4. Prior to 1998, I performed all the functions of providing and servicing the vending
machines,
5. The vending machine business was incorporated as American Vending Group, Inc. in
the State of Maryland on January 1, 1998 and commenced business as a corporation in

July 1998.

Page | of |
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 66 of 68

6. American primary business is to provide and service vending machines in office
buildings located in Montgomery and Prince George’s Counties.

7. In 1998, I had no experience in the accounting and local, state and federal licensing,
tax and other requirements of operating a vending machine business.

8. American’s bookkeeper for part of 1998 and 1999 was Ellen C. Rorrer.

9. Among Ms. Rorrer’s duties were the preparation of the payroll and all federal and
State employment filing requirements.

10. When Ms. Rorrer completed the payroll and any federal and state employment filing
requirement, she gave me the documents to pay and/or file.

11. in 1998, American had two employees, John Hohl and Michal Goodman.

12. I personally gave the American 1998 Wage and Tax Statement, IRC Form W-2 to
John Hohl and Michael Goodman.

13. [have no record or recollection that I filed Transmittal of Wages and Tax Statement,
IRC Form W-3 and the Wage and Tax Statement, IRC Form W-2 to the Social Security
Administration.

14. In 1998, Thad no knowledge of the filing requirements for the Transmittal of Wages
and Tax Statement, IRC Form W-3 and the Wage and Tax Statement, IRC Form W-2 to
the Social Security Administration.

15. Inor American had anything to gain from not filing the 1998 Transmittal of Wages
and Tax Statement, IRC Form W-3 and the two Wage and Tax Statement, IRC Form W-2
with the Social Security Administration, All the employment tax money had been paid.

The government had the all the money.

Page 2 of 2
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 67 of 68

16. In 2000, I contracted with a payroll service to perform all of American’s payroll and
employment filings.

17. The vending machine piace of business has been relocated five times since 1998.

18. As the results of the many moves, many of the records were either discarded or lost in
the moves,

19, Iam no longer in possession of copies of the W-2s and W-3 prepared by the
bookkeeper in 1998.

20. I was not contacted by IRS or the Social Security Administration concerning this
matter until almost three years after the filing date of the 1998 W-2s and W-3.

21, [received a number of letters concerning the assessment of the penalty for failure to
file W-2s and W-3.

22. | understood that my CPA responded to all the notices requesting an explanation of
the penalty.

23, I understood IRS never replied to his responses.

24, understood that my CPA visited the local IRS customer service center and requested
Taxpayer Advocate consideration in an effort to resolve this matter.

25. L understood that the IRS was unwilling or unable to explain the basis of the penalty
and recommended I go to court to obtain a response.

26. Except for the isolated incident in 1998, all of American’s employer’s wage tax
filings for the ten years that American has been in business were timely and properly

filed and fully paid.

e this \A An day Way Zyear and month

Page 3 of 3
Case 8:07-cv-02277-WGC Document 24 Filed 05/19/08 Page 68 of 68

State of Marylard
County of_untyorny

Subscriber and sworn to before me this jam day of Mons , 2008.

eM trader de

Notary Public

My commission expires:

RITA M. FREDERICK
NOTARY PUBLIC
MONTGOMERY COUNTY
MARYLAND
My Goramiacion Expires June 1, 2010

Page 4 of 4
